                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                           NORTHEASTERN DIVISION
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
      Plaintiff,                     )
                                     )   Civil Action No. 2:21-cv-00012
v.                                   )
                                     )   Magistrate Judge Alistair Newbern
                                     )
CUMBERLAND COUNTY,                   )   JURY DEMAND
TENNESSEE,                           )
                                     )
      Defendant.                     )
____________________________________)

                                     CONSENT DECREE

I.     INTRODUCTION

       This action was brought by Plaintiff United States of America (“United States”) against

Defendant Cumberland County, Tennessee (“Cumberland County”) to enforce the provisions of

Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, et seq. (“Title VII”),

following the United States’ receipt from the Equal Employment Opportunity Commission

(“EEOC”) of charges of discrimination timely filed by Charging Party 1, Charging Party 2,

Charging Party 3, and Charging Party 4 (collectively, “the Charging Parties”) against

Cumberland County. This Court has jurisdiction over this action under 42 U.S.C. § 2000e-5(f)

and 28 U.S.C. §§ 1331 and 1345.

       In its complaint, the United States alleges that Cumberland County discriminated against

the Charging Parties and similarly situated female employees of the Solid Waste Department on

the basis of sex when they were subjected to sexual harassment by their supervisor, the former

Director of the Solid Waste Department, in violation of Title VII. The United States further



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alleges that Cumberland County retaliated against Charging Party 1 for complaining about the

harassment to the EEOC.

         The United States and Cumberland County, desiring that this action be settled by this

Consent Decree (“Decree”) without the burdens and risks of protracted litigation, agree that this

Court has jurisdiction over the Parties and the subject matter of this action. This Decree, being

entered into with the consent of the Parties, shall not constitute an adjudication or finding on the

merits of the case, nor be construed as an admission of liability by Cumberland County.

         Subject to the Court’s approval of this Decree, the Parties waive findings of fact and

conclusions of law on the merits of this case and further agree to entry of this Decree as a final

and binding agreement between them with regard to all claims asserted in the United States’

complaint.

II.      FINDINGS

         Having examined the terms and provisions of this Decree, the Court finds that it has

jurisdiction over the subject matter of and the Parties to this action; and in resolution of this

action, the Parties hereby AGREE and the Court expressly APPROVES, ENTERS, and

ORDERS the following:

III.     PARTIES AND DEFINITIONS

1.       “Days” refers to calendar days, not business days, unless otherwise stated.

2.       “Date of entry of this Decree” is the date on which the Court signs and enters this Decree

         as a final order of the Court.

3.       For purposes of this Decree, “employee” or “employees” refers to (a) anyone hired to

         work for Cumberland County, regardless of whether (i) they work on a part-time or full-




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        time basis, (ii) their employment is temporary, or (iii) they are deemed “exempt” or “non-

        exempt,” and (b) anyone assigned to perform community service for the County. 1

4.      “Party” or “Parties” refers to the United States and/or Cumberland County.

5.      “Policy” refers to the Cumberland County Sexual Harassment Policy, contained within

        the Cumberland County Personnel Policy/Employee Handbook and the Cumberland

        County Community Service Worker Handbook.

6.      “Procedure” refers to the Cumberland County Complaint Process for Reporting Abusive

        Conduct, Discrimination, Harassment, Sexual Harassment, and Workplace Violence,

        contained within the Cumberland County Personnel Policy/Employee Handbook and the

        Cumberland County Community Service Worker Handbook.

7.      “Relief Participants” are Charging Party 1, Charging Party 2, Charging Party 3, Charging

        Party 4, Employee 1, Employee 2, Employee 3, Employee 4, Employee 5, and

        Employee 6.

IV.     PURPOSES OF THE CONSENT DECREE

8.      The purposes of this Decree are to:

        a.     Provide non-monetary remedies, including injunctive and equitable relief, that

               ensure that Cumberland County does not discriminate against any employee on

               the basis of sex or retaliate against any employee in violation of Title VII; and

        b.     Provide monetary relief to the Relief Participants in consideration for a release of

               their claims set forth in the United States’ complaint.




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 Cumberland County does not concede that community service workers are “employees” under
Title VII. For the sole purpose of this Consent Decree, however, Cumberland County does not
object to this definition.
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V.      INJUNCTIVE & EQUITABLE RELIEF

9.      In accordance with the terms of this Decree, Cumberland County shall not:

        a.     Engage in any act or practice that discriminates against any employee on the basis

               of sex or retaliates against any employee in violation of Title VII; or

        b.     To the extent proscribed by Title VII, discriminate against any person because

               that person participated in or cooperated with the United States’ investigation of

               Cumberland County, participated in the litigation of this case, complained about

               or opposed the challenged employment practices, or received or sought relief or

               otherwise benefitted from the terms of this Decree.

VI.     IMPLEMENTATION OF REVISED POLICY AND PROCEDURE

10.     Within thirty (30) days of the date of entry of this Decree, Cumberland County will adopt

        the Parties’ agreed-upon revised Sexual Harassment Policy (“Policy”) and the Parties’

        agreed-upon revised Complaint Process for Reporting Abusive Conduct, Discrimination,

        Harassment, Sexual Harassment, and Workplace Violence (“Procedure”).

11.     Within thirty (30) days of Cumberland County’s adoption of the revised Policy and

        Procedure, Cumberland County will implement them by:

        a.     Distributing the revised Policy and Procedure to all Cumberland County

               employees;

        b.     Documenting that each employee has received the revised Policy and Procedure;

               and

        c.     Posting the revised Policy and Procedure on its website and in its facilities.

12.     Thereafter, Cumberland County will distribute the revised Policy and Procedure to each

        new employee within fifteen (15) days of hire or, in the case of community service



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        workers, as soon as practicable but no later than two (2) days after beginning his/her

        community service assignment.

VII.    IMPLEMENTATION OF REVISED TRAINING

13.     Within ninety (90) days of Cumberland County’s adoption of the revised Policy and

        Procedure, Cumberland County will provide to all Cumberland County employees the

        Parties’ agreed-upon training on the revised Policy and Procedure.

14.     Cumberland County will document that each employee has completed the training.

15.     Thereafter, Cumberland County will provide to each new employee the Parties’ agreed-

        upon training within fifteen (15) days of hire or, in the case of community service

        workers, as soon as practicable but no later than two (2) days after beginning his/her

        community service assignment.

16.     Cumberland County will document that each new employee has completed the training.

VIII. MONETARY RELIEF

17.     In settlement of the United States’ claims for relief, Cumberland County agrees to pay a

        total of One Million, One Hundred Thousand Dollars ($1,100,000). As set forth in

        Paragraph 20 below, Cumberland County, through, in part, proceeds from its insurance

        coverage, will direct the payment of $1,075,000 in monetary relief to the Relief

        Participants in exchange for releases of their claims. Cumberland County will also direct

        the payment of $25,000 in attorney’s fees to their attorney, John Nisbet.

18.     To receive relief under this Decree, each Relief Participant must execute a release in a

        format materially the same as set forth in Exhibit 1 and return it to the United States

        within thirty (30) days of the date of entry of the Decree.




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19.     The United States will provide Cumberland County with copies of the executed releases

        within thirty-five (35) days of the date of entry of the Decree. Cumberland County

        agrees to accept reasonable facsimiles of signed forms in place of the originals.

20.     Within thirty (30) days of Cumberland County’s receipt of the executed releases from the

        United States, Cumberland County will issue checks for the monetary settlement. Each

        check will be made payable to the individual Relief Participant and Daniels & Nisbet in

        the amount of individual monetary relief listed on Exhibit 2.

21.     Each Relief Participant’s individual monetary relief payment is attributable to

        compensatory damages and is pursuant to and within the statutory limitations of Section

        102 of the Civil Rights Act of 1991, 42 U.S.C. § 1981. Cumberland County will issue

        each Relief Participant an IRS Form 1099 for the amount of her individual monetary

        relief.

22.     Within five (5) days of Cumberland County’s issuance of the monetary settlement checks

        as described in Paragraph 20, Cumberland County will confirm the issuance to the United

        States.

IX.     RECORDS RETENTION

23.     Cumberland County will retain the following documents and information during the term

        of this Decree, or for the period of time required by other applicable records retention

        requirements, whichever is longer:

        a.        The provisions and effective dates of the revised Policy and Procedure adopted

                  pursuant to Paragraph 10 and distributed to its employees;

        b.        Documentation that each employee received the revised Policy and Procedure as

                  required by Paragraphs 11 and 12;



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        c.       The provisions and effective dates of the training on the revised Policy and

                Procedure pursuant to Paragraphs 13 and 15 and provided to its employees;

        d.      Documentation that each employee received the training on the revised Policy and

                Procedure as required by Paragraphs 14 and 16; and

        e.      All documents that come into Cumberland County’s possession relating to any

                written or verbal complaint of sexual harassment or related retaliation, made by

                any employee, including documents relating to Cumberland County’s

                investigation and resolution of any such complaint.

24.     The United States may review Cumberland County’s compliance with this Decree at any

        time and accordingly will have the right to inspect and copy any documents related to

        Cumberland County’s compliance with this Decree upon fifteen (15) days’ written notice

        to Cumberland County, without further order from this Court.

X.      PROVISION OF RECORDS TO THE UNITED STATES

25.     For the duration of this agreement, Cumberland County will send reports every six

        months to the United States identifying:

        a.      All complaints of sexual harassment and all related complaints of retaliation,

                 including, at a minimum:

               i.       The date of the complaint and the date the complaint was received by

                        Cumberland County, if different from the date of the complaint;

              ii.       Whether the complaint was oral or written;

             iii.       A description of the complaint, including the identity, by name and title,

                        of the individuals accused of harassment or retaliation, if known; and




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             iv.       Any formal or informal report of investigation, including any

                       recommended corrective action or discipline and whether that corrective

                       action or discipline was taken;

        b.     Documentation that each employee received the revised Policy and Procedure as

               required by Paragraphs 11 and 12; and

        c.     Documentation that each employee received the training on the revised Policy and

               Procedure as required by Paragraphs 14 and 16.

26.     Six (6) months after the date of entry of this Decree, Cumberland County will provide its

        first report covering the time period from November 1, 2019, through five (5) months

        after the date of entry of this Decree.

27.     A report will be due every six (6) months thereafter for the duration of the Decree,

        covering the six (6)-month time period since the previous report. Barring any extension

        of this Decree, Cumberland County will provide the United States three reports

        containing the information described above.

XI.     DISPUTE RESOLUTION

28.     The Parties will attempt in good faith to resolve informally any dispute concerning

        Cumberland County’s compliance with this Decree. Upon request by either Party, the

        Parties, through their counsel, will make themselves available for a telephone conference

        to discuss any such dispute within ten (10) days of such a request. If the Parties are

        unable to reach agreement after informally seeking to resolve the dispute, either Party

        may move the Court to enforce the Decree and may seek a ruling that enforces this Court




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        Order, provided the moving Party gives at least thirty (30) days written advance notice to

        the nonmoving Party.

XII.    MODIFICATION OF THE DECREE

29.     This Decree constitutes the entire agreement and all commitments of the Parties.

30.     The Parties may jointly agree to modifications of the time limits for the specific

        performance of the non-monetary relief provisions set forth in this Decree without Court

        approval. The Parties may agree to other modifications of the non-monetary relief

        provisions of the Decree only with approval of the Court.

31.     The Parties and the Relief Participants may agree to modifications of the time limits for

        the specific performance of the monetary relief provisions set forth in this Decree without

        Court approval. The Parties and the Relief Participants may agree to other modifications

        of the monetary relief provisions of the Decree only with approval of the Court.

XIII. JURISDICTION OF THE COURT

32.     The Court shall retain jurisdiction over this Decree for the purposes of implementing the

        relief provided herein and resolving any disputes or entering any orders that may be

        necessary to implement the relief provided herein.

XIV. DURATION OF CONSENT DECREE AND TERMINATION

33.     This Decree will remain in effect for eighteen (18) months from the date of entry of this

        Decree. The United States may move the Court to extend the duration of the Decree and

        the Court may extend the term only upon a showing of (1) Cumberland County’s

        substantial non-compliance with this Decree during its term, and (2) good cause for

        extending the term. Absent an extension, the Decree will expire without further order of

        the Court at the conclusion of this eighteen (18)-month period.



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XV.      GENERAL PROVISIONS

34.      If any deadline referenced in this Agreement falls on a weekend or federal holiday, the

         deadline shall be moved to the next business day.

35.      If any provision of this Decree is found to be unlawful, only the specific provision in

         question will be affected and the other provisions will remain in full force and effect.

36.      The Parties will bear their own costs, expenses, and attorneys’ fees in this action,

         including the costs of compliance or monitoring.

37.      Where possible, all documents required to be delivered to the United States under this

         Decree shall be sent via electronic mail to Jennifer Swedish

         (jennifer.swedish@usdoj.gov), Julia Quinn (julia.quinn@usdoj.gov), and Kara Sweet

         (kara.sweet@usdoj.gov). Where such electronic mail is not possible, documents shall be

         sent via overnight delivery to:

                Jennifer Swedish
                Julia Quinn
                Employment Litigation Section
                Civil Rights Division
                United States Department of Justice
                4 Constitution Square
                150 M Street NE, Room 9.1134
                Washington, DC 20530

38.      Any Party may update mailing or electronic addresses to all other parties without

         requiring any changes to this Decree.

39.      This Decree may be executed in multiple counterparts, each of which together shall be

         considered an original but all of which shall constitute one Decree. The Parties agree to

         be bound by facsimile signatures.




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It is so ORDERED, this 24th day of March, 2021.

                                              ________________________________
                                              Magistrate Judge Alistair Newbern
                                              United States Magistrate Judge




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Date: March 23, 2021
                                              Agreed to and entered into by:

FOR PLAINTIFF UNITED STATES OF AMERICA:

PAMELA S. KARLAN                                     MARY JANE STEWART
Principal Deputy Assistant Attorney General          Acting United States Attorney
Civil Rights Division                                Middle District of Tennessee

DELORA L. KENNEBREW                                  s/ Kara F. Sweet
Chief                                                KARA F. SWEET
                                                     Assistant United States Attorney
JOHN P. BUCHKO                                       United States Attorney’s Office
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                                                     Nashville, TN 37203
s/ Jennifer M. Swedish                               (615) 736-5151
JENNIFER M. SWEDISH                                  Kara.Sweet@usdoj.gov
(pro hac vice admission pending)

s/ Julia T. Quinn
JULIA T. QUINN
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Trial Attorneys
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Counsel for the United States of America

FOR DEFENDANT CUMBERLAND COUNTY, TENNESSEE:

s/ Cassandra M. Crane____________
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Counsel for Cumberland County, Tennessee

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                                           EXHIBIT 1
                                    RELEASE OF CLAIMS

         I, [insert name], for and in consideration of accepting the $[insert amount] in individual
relief to be provided to me under the the provisions of the Consent Decree entered by the District
Court on [insert date] in U.S. v. Cumberland County, Tennessee (Civil Action No. 2:21-cv-
00012) (M.D. Tenn.), hereby release and discharge Cumberland County and its current, former,
and future officials, employees, and agents from all legal and equitable claims, causes of action,
liabilities, and costs (including attorneys’ fees and costs actually incurred) based upon alleged
discrimination on the basis of sex [and retaliation] in violation of any federal or state statutes,
regulations, or executive orders providing for or giving rise to claims or rights of action relating
to equal employment, including Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et
seq., arising out of or which could have been brought as part of the complaint filed by the
United States in the above-captioned civil action through the date I signed this release.

        I understand that the relief to be given to me does not constitute an admission by
Cumberland County of the validity of any claim raised by me or on my behalf, nor does it
constitute liability for any wrongdoing or violation of any applicable federal law or regulation.

       This release constitutes the entire agreement between Cumberland County and myself in
connection with this case, without exception or exclusion.

      I hereby acknowledge that the relevant portion of the Consent Decree in this action has
been made available to me for my review.

      I HAVE READ THIS RELEASE AND UNDERSTAND THE CONTENTS THEREOF. I
SIGN THIS RELEASE OF MY OWN FREE ACT AND DEED.

       Signed this ___ day of _____________________, 2021.



                                                             Signature




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                                EXHIBIT 2
      INDIVIDUAL MONETARY RELIEF TO RELIEF PARTICIPANTS

                  Relief Participant   Monetary Relief
                  Charging Party 1     $100,000
                  Charging Party 2     $165,000
                  Charging Party 3     $190,000
                  Charging Party 4     $ 90,000
                  Employee 1           $ 50,000
                  Employee 2           $ 80,000
                  Employee 3           $122,500
                  Employee 4           $ 80,000
                  Employee 5           $ 80,000
                  Employee 6           $122,500




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